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lN THE UNITED sTA'rEs DISTRICT COURT 05`! ` ‘~\ /§/§£
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W. J. MINNER, § _]UL 1 4 2005 C/(SGV.T
Piaimirf, ) T"%'f`§‘.‘ §',3¢\°“§:,.,°$°'“
) W. D. OF TN, Jackson
)
VS. ) No. 04-2778-T
)
)
Jo ANNE B. BARNHART, )
Cornrnissioner of Social Security, )
)
Defendant. )

 

ORDER GRANTING AWARD OF ATTORNEY FEES

 

The plaintiff`, W. J. Minner, filed this action to obtain judicial review of the
Defendant Connnissioner’s final decision denying his application for disability insurance
benefits and supplemental security income benefits under the Social Security Act. On April
19, 2005, the Court entered an agreed order reversing the Commissioner’s decision and
remanding for further proceedings in accordance with sentence four of 42 U.S.C. § 405(g).
Plaintif`f has now filed a motion for an award of attorney fees in the amount of $3,300.70,
pursuant to the Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412(d).

Under the EAJA, the court shall:

award to a prevailing party . . . fees and other expenses . . . incurred by that
party in any civil action . . . , including proceedings for judicial review of

ThIs document entered on the docket shoot ln compliance

with Ru|a 58 and,'or_?g {a) FRCP on _ §§ l ~| 8' ' §§

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agency action, brought by or against the United States . . . , unless the Court

finds that the position of the United States was substantially justified or that

special circumstances make an award unjust.
28 U.S.C. § 2412(d)(l )(A). A social security plaintiff who obtains a sentence»four remand
is a prevailing party under the EAJA. Shalala v. Schaefer, 509 U.S. 292, 300-02 (1993).

The EAJA also sets out guidelines regarding the amount of attorney fees that should
be awarded:

[A]ttorney fees shall not be awarded in excess of 5125 per hour unless the

court determines that an increase in the cost of living or a special factor, such

as the limited availability of qualified attorneys for the proceedings involved,

justifies a higher fee.
28 U.S.C. § 2412(d)(2)(A). ln this case, counsel for the plaintiff, Lester T. Wener, has
submitted an itemization for 7.75 hours of Work at 8144.79 per hour and 14.75 hours of
work at 3147.70 per hour. A]though it is not specifically argued, plaintiff apparently
contends that a higher hourly rate is justified due to increases in the cost of living.1

The Commissioner has filed no response to plaintiff` s request for fees, thus conceding
that her position was not substantially justified ln addition, there are no special
circumstances that would make an award unjust. Consequently, plaintiff is entitled to an
award of attorney fees.

The Court finds that the 22.5 hours expended by counsel in this case is reasonable.

However, notwithstanding the Commissioner’s failure to obj ect, the Court concludes that

 

l Along with his itemization, counsel has submitted pages from a cost-of-living “caleulator” found on the
website of the American Institute for Economic Research to demonstrate how he arrived at the requested hourly
rate.

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the increased hourly rate requested by counsel is not justified and that fees Should be
awarded at the statutory rate of 8125 per hour. Accordingly, the Court hereby awards
attorney fees under the EAJA in the amount of $2,812.50.

IT IS SO ORDERED.

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TED s'rATEs DIsTRiCT JUDGE

/WMM§

DATE

   

UNITED sTTEAs DISTRIC COURT - wEsTERN D'sT'CT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02778 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

